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IN THE UNITED STATES DISTRICT COURT Te
FOR THE NORTHERN DISTRICT OF ALABAMA

(Southern Division) Gl Ort ~Ti -
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Willie Holmes and Clarence Williams, )} ag 4 }
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Plaintiffs, )
)
vs. ) Ci CV-01-B-2771-S
) .
Sloss Industries Corp., ) Jury Trial Demanded
)
Defendants. )
COMPLAINT
The plaintiffs complain against the defendant as follows:
Jurisdiction & Parties
1. This is a lawsuit brought against the defendant for race and age discrimination in

the administration of its apprenticeship program and the filling of vacancies for skilled craft
positions. The Court has jurisdiction under 42 U.S.C. § 2000e, et. seq. and 42 U.S.C. § 1981, §
1981a, 29 U.S.C. § 626 (d), 28 U.S.C. § 1331.

2. Mr. Holmes is an African American employee of Sloss Industries. He resides in
Jefferson County, Alabama.

3. Mr. Williams is an African American employee of Sloss Industries. He resides in
Jefferson County, Alabama.

4. Sloss Industries regularly conducts business in Jefferson County, Alabama. Sloss
Industries currently has 15 or more employees on its payroll and was subject to Title VII of the

1964 Civil Rights Act during the relevant time period. Sloss Industries has over 500 employees.
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Factual Allegations

5. The defendant Sloss Industries currently maintains an apprenticeship program.
The program trains employees for skilled and higher paying jobs.

6. Only white employees under the age of 40 are currently in the apprenticeship
program.

7. White employees hold almost all of the skilled positions that the apprenticeship
program trains employees to fill. Most of these skilled positions are filled through external
hiring.

8. The plaintiffs are members of protected classes. The plaintiffs sought entrance
into the apprenticeship program. The plaintiffs have been denied positions in the apprenticeship
program. White employees under the age of 40 were selected over the plaintiffs to fill positions
in the apprenticeship program.

9. The plaintiffs timely filed charges with the EEOC. The plaintiffs have received
Notice of the Right to sue and have instituted this lawsuit within 90 days of the date they
received the notice.

COUNTI
(Title VII Disparate Treatment)

10. ‘The plaintiffs incorporate by reference the factual allegations in the preceding
paragraphs.

11.‘ The plaintiffs are qualified to hold positions in the apprenticeship program.
White employees with less or equal qualification were selected. Race motivated the decision to

deny plaintiffs a position in the apprenticeship program. program and/or to award the white
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employees a position in the apprenticeship program. The defendant intentionally discriminated
against the plaintiffs on account of race.

12. Defendant damaged the plaintiffs by denying them a position in the
apprenticeship program.

13. Wherefore premises considered, the plaintiffs respectfully request that the Court
enter an order (1) requiring the defendants to offer plaintiffs a position in the apprenticeship
program; (2) pay plaintiffs any back pay lost as a result of the unlawful conduct; (3) award the
plaintiffs compensatory and punitive damages as provided under law; (4) pay plaintiffs
reasonable attorney fees and costs; (5) enter an injunction requiring defendant to administer the
apprenticeship program in a manner consistent with Title VII and (6) any other legal or equitable
relief the Courts deems appropriate and available under law.

COUNT II
(Section 1981 Race Discrimination)

14.‘ The plaintiffs incorporate by reference the factual allegations in the preceding
paragraphs.

15. The plaintiffs are qualified to hold positions in the apprenticeship program.
White employees with less or equal qualification were selected. Race motivated the decision to
deny plaintiffs a position in the apprenticeship program and/or to award the white employees a
position in the apprenticeship program. The defendant intentionally discriminated against the
plaintiffs on account of race.

16. Defendant damaged the plaintiffs by denying them a position in the

apprenticeship program.
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17. | Wherefore premises considered, the plaintiffs respectfully request that the Court
enter an order (1) requiring the defendants to offer plaintiffs a position in the apprenticeship
program; (2) pay plaintiffs any back pay lost as a result of the unlawful conduct; (3) award the
plaintiffs compensatory and punitive damages; (4) pay plaintiffs reasonable attorney fees and
costs; (5) enter an injunction requiring defendant to administer the apprenticeship program in a
manner consistent with Section 1981 and (6) any other legal or equitable relief the Courts deems
appropriate and available under law.

COUNT HI
(Title VII Disparate Impact)

18. The plaintiffs incorporate by reference the factual allegations in the preceding
paragraphs.

19. The defendant’s administration of the apprenticeship program and/or the
eligibility criteria (including testing requirements) of the program have a disparate impact on the
protected class of African American employees. The apprenticeship program has no black
employees. The eligibility criteria (including the testing requirements) are not job validated as
required under Title VII.

20. The defendant has refused to adopt and/or implement an alternative employment
practice that will not have a disparate impact on African American employees.

21. Wherefore premises considered, the plaintiffs respectfully request that the Court
order Sloss Industries to (1) pay any back pay lost as a result of the discriminatory employment
practice; (2) any damages available under law; (3) plaintiffs’ reasonable attorney fees plus costs;

(4) order defendant to modify its program to comply with Title VII and/or implement the
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alternative employment practice and (5) any other legal or equitable relief the Court deems
appropriate and available under law.
COUNT IV
(Age Discrimination)

22. The plaintiffs incorporate by reference the factual allegations in the preceding
paragraphs.

23. Both plaintiffs are over the age of 40. Both plaintiffs are qualified to participate
in the apprenticeship program. Both plaintiffs were denied a position in the apprenticeship
program. The positions were awarded to employees who were substantially younger than the
plaintiffs. Defendant denied plaintiffs a position in the apprenticeship program on account of
their age.

24. Defendants damaged plaintiffs by denying them a position in the apprenticeship
program.

25. | Wherefore premises considered, the plaintiffs respectfully request that the Court
order Sloss Industries to (1) pay any loss pay resulting from the unlawful conduct; (2) pay
plaintiffs liquidated damages; (3) order defendant to offer plaintiffs a position in the
apprenticeship program; (4) pay plaintiffs reasonable attorney fees and costs; (5) enjoin
defendant from administering the apprenticeship program in a manner inconsistent with ADEA

and (6) any other legal or equitable relief the Court deems appropriate and available under

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Attomey for plaintiffs

existing law.
